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U.S. Department of Justice

United States Attorney

District of Maryland
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February 16, 2025

Via email

Gabriel Reyes

Assistant Federal Public Defender
100 S. Charles Street

Tower 2, 9th Floor

Baltimore, Maryland 21201

Re: United States v. Brian Adams
Criminal No. JRR-24-213

Dear Counsel:

This letter, together with the Sealed Supplement, confirms the plea agreement (the
“Agreement” that has been offered to your client, Brian Adams (“the Defendant”), by the United
States Attorney’s Office for the District of Maryland (“this Office”). If the Defendant accepts this
offer, please have the Defendant execute it in the spaces provided below. If this offer has not been
accepted by February 10, 2025, it will be deemed withdrawn. The terms of the Agreement are as
follows:

Offense of Conviction

1. The Defendant agrees to plead guilty to Count One of the Indictment, which
charges him with Firearms Trafficking Conspiracy, in violation of 18 U.S.C. § 933(a)(3) and Count
Ten of the Indictment, which charges him with Distribution and Possession With Intent to
Distribute 50 grams or more of a mixture or substance containing a detectable amount of
methamphetamine, in violation of 21 U.S.C. § 841(a)(1). The Defendant admits that he is, in fact,
guilty of that offense and will so advise the Court.

Elements of the Offense

De The elements of the offense to which the Defendant has agreed to plead guilty, and
which this Office would prove if the case went to trial, are as follows:

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Count One

That on or about the time alleged in the Indictment, in the District of Maryland, the Western
District of North Carolina, and the District of South Carolina:

a. an agreement existed between two or more persons to ship, transport, or transfer
any firearm to another person in or otherwise affecting interstate commerce;

b. the Defendant knowingly entered into that agreement; and

c. the Defendant knew or had reasonable cause to believe that the use, carrying or
possession, of a firearm by the recipient would constitute a felony.

Count Ten
That on or about the time alleged in the Indictment, in the District of Maryland:
a. the Defendant knowingly and intentionally possessed 50 grams or more of a
mixture or substance containing a detectable amount of methamphetamine;

b. the substance was actually methamphetamine;
c. the Defendant possessed with intent to distribute and did in fact distribute the

substance.
Penalties
a, The maximum penalties provided by statute for the offense to which the Defendant
is pleading guilty are as follows:
Count | Statute Maximum aie Supervised BieesSET Special
Prison Prison Release Fine Assessment
One 18 U.S.C. 15 years N/A 3 years $250,000 $100
§ 933(a)(3)
Ten 21 USC § 40 years 5 years 5 years/4 | $5,000,000 $100
841(a) year min.
a. Prison: If the Court orders a term of imprisonment, the Bureau of Prisons
has sole discretion to designate the institution at which it will be served.
b. Supervised Release: If the Court orders a term of supervised release, and

the Defendant violates the conditions of supervised release, the Court may order the Defendant
returned to custody to serve a term of imprisonment as permitted by statute, followed by an
additional term of supervised release.

© Restitution: The Court may order the Defendant to pay restitution pursuant
to 18 U.S.C. §§ 3663, 3663A, and 3664.

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d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately,
unless the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to
pay interest if the fine is not paid when due.

€. Forfeiture: The Court may enter an order of forfeiture of assets directly
traceable to the offense, substitute assets, and/or a money judgment equal to the value of the
property subject to forfeiture.

f. Collection of Debts: Ifthe Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is
nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

Waiver of Rights

4, The Defendant understands that by entering into this Agreement, the Defendant
surrenders certain rights as outlined below:

a. If the Defendant had pled not guilty and persisted in that plea, the Defendant
would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

Cc. If the Defendant went to trial, the Government would have the burden of
proving the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to
confront and cross-examine the Government’s witnesses. The Defendant would not have to
present any defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses

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in defense, however, the Defendant would have the subpoena power of the Court to compel the
witnesses to attend.

d. The Defendant would have the right to testify in the Defendant’s own
defense if the Defendant so chose, and the Defendant would have the right to refuse to testify. If
the Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

& If the Defendant were found guilty after a trial, the Defendant would have
the right to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of
evidence to see if any errors were committed which would require a new trial or dismissal of the
charges. By pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and
the Court’s decisions.

£ By pleading guilty, the Defendant will be giving up all of these rights,
except the right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph
below, to appeal the sentence. By pleading guilty, the Defendant understands that the Defendant
may have to answer the Court’s questions both about the rights being given up and about the facts
of the case. Any statements that the Defendant makes during such a hearing would not be
admissible against the Defendant during a trial except in a criminal proceeding for perjury or false
statement.

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be
giving up the right to file and have the Court rule on pretrial motions, and there will be no further
trial or proceeding of any kind in the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable
civil rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

5. The Defendant understands that the Court will determine a sentencing guidelines
range for this case (henceforth the “advisory guidelines range”) pursuant to the Sentencing Reform
Act of 1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. §§ 3553(b)(1) and 3742(e)) and 28
U.S.C. §§ 991 through 998. The Defendant further understands that the Court will impose a

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sentence pursuant to the Sentencing Reform Act, as excised, and must take into account the
advisory guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

6. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein. This Office and the Defendant
further agree as follow:

Count One:

a. This Office and the Defendant agree that the applicable base offense level
for Count One is 20 pursuant to United States Sentencing Guidelines (“U.S.S.G.”) §
2K2.1(a)(4)(B) because multiple firearms involved have large magazine capacity as defined in
application note 10.

b. This offense level is increased by 8 pursuant to U.S.S.G. § 2K2.1(b)(1)
because the offense involved 100-199 guns.

& This offense level is increased by 2 under § 2K2.1(b)(4) because 4 of the
firearms were stolen. However, because “The cumulative offense level determined from the
application of subsections (b)(1) through (b)(4) may not exceed level 29, except if subsection
(b)(3)(A) applies,” pursuant to (b)(4), the resulting offense level is 29.

d. This offense level is increased by 5 under § 2K2.1(b)(5) because the
firearms were trafficked.

€ This offense level is increased by 4 under 2K2.1(b)(6)(B) because firearms
were used or possessed in connection with another felony offense.

f. As a result, the adjusted offense level for Count One is 38.
Count Ten:

g. This Office and the Defendant agree that the applicable base offense level
for Count Ten is 26 pursuant to U.S.S.G. 2D1.1(c)(7) because the offense involved at least 200
grams of a mixture or substance containing methamphetamine. The parties agree that the
approximately 104 grams of a mixture or substance containing methamphetamine seized from the
defendant on July 10, 2024 should be treated as relevant conduct to Count Ten, pursuant to § 1B1.3
or otherwise included in the total drug quantity pursuant to § 1B1.2(c). As a result, the total
quantity of the mixture or substance containing methamphetamine is between 200 and 350 grams.

Grouping:

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h. Because the counts of conviction will group with each other, pursuant to §
3D1.2 and § 3D1.4, the combined offense level is 38.

i. This Office does not oppose a 2-level reduction in the Defendant’s adjusted
offense level pursuant to U.S.S.G. § 3E1.1(a) based upon the Defendant’s apparent prompt
recognition and affirmative acceptance of personal responsibility for the Defendant’s criminal
conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional
1-level decrease in recognition of the Defendant’s timely notification of the Defendant’s intention
to enter a plea of guilty. This Office may oppose any adjustment for acceptance of responsibility
under U.S.S.G. § 3E1.1(a) if the Defendant: (i) fails to admit each and every item in the factual
stipulation; (ii) denies involvement in the offense; (iii) gives conflicting statements about the
Defendant’s involvement in the offense; (iv) is untruthful with the Court, this Office, or the United
States Probation Office; (v) obstructs or attempts to obstruct justice prior to sentencing; (vi)
engages in any criminal conduct between the date of this Agreement and the date of sentencing;
(vii) attempts to withdraw the plea of guilty; or (viii) violates this Agreement in any way.

j. The final offense level is 35.

7. There is no agreement as to the Defendant’s criminal history and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.

8. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

Rule 11(c)(1)(C) Plea

9. The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure
11(c)(1)(C) that a sentence between 108 and 132 months imprisonment in the custody of the
Bureau of Prisons is the appropriate disposition of this case, taking into consideration the nature
and circumstances of the offense, the Defendant’s criminal history, and all of the other factors set
forth in 18 U.S.C. § 3553(a). This Agreement does not affect the Court’s discretion to impose any
lawful term of supervised release or fine, or to set any lawful conditions of probation or supervised
release. In the event that the Court rejects this Agreement, except under the circumstances noted
below, either party may elect to declare the Agreement null and void. Should the Defendant so
elect, the Defendant will be afforded the opportunity to withdraw his plea pursuant to the
provisions of Federal Rule of Criminal Procedure 11(c)(5). The parties agree that, if the Court
finds that the Defendant engaged in obstructive or unlawful behavior and/or failed to acknowledge
personal responsibility as set forth herein, neither the Court nor the Government will be bound by
the specific sentence contained in this Agreement, and the Defendant will not be able to withdraw
his plea.

Obligations of the Parties

10. At the time of sentencing, this Office and the Defendant will recommend a sentence
between 108 and 132 months imprisonment. This Office reserves the right to establish at

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sentencing that the Defendant willfully attempted to obstruct or impede the prosecution of the
instant offense of conviction. The parties may advocate for any period of supervised release,
and/or fine considering any appropriate factors under 18 U.S.C. § 3553(a). This Office and the
Defendant reserve the right to bring to the Court’s attention all information with respect to the
Defendant’s background, character, and conduct that this Office or the Defendant deem relevant
to sentencing, including the conduct that is the subject of any counts of the Indictment. At the
time of sentencing, this Office will move to dismiss any open counts against the Defendant.

Waiver of Appeal

11. _ In exchange for the concessions made by this Office and the Defendant in this
Agreement, this Office and the Defendant waive their rights to appeal as follows:

a. The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or
any other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s), to the extent that such
challenges legally can be waived.

b. The Defendant and this Office knowingly and expressly waive all rights
conferred by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of
imprisonment, fine, term of supervised release, or order of restitution) for any reason (including
the establishment of the advisory sentencing guidelines range, the determination of the
Defendant’s criminal history, the weighing of the sentencing factors, and any constitutional
challenges to the calculation and imposition of any term of imprisonment, fine, order of forfeiture,
order of restitution, and term or condition of supervised release), except as follows:

i. The Defendant reserves the right to appeal any sentence that exceeds 132
months; and

ii. This Office reserves the right to appeal the sentence of imprisonment if the
total term of imprisonment is less than 108 months.

cs The Defendant waives any and all rights under the Freedom of Information
Act relating to the investigation and prosecution of the above-captioned matter and agrees not to
file any request for documents from this Office or any investigating agency.

Forfeiture
12. | The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable

to the offense, substitute assets, and/or a money judgment equal to the value of the property derived
from, or otherwise involved in, the offenses.

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13. Specifically, but without limitation on the Government’s right to forfeit all property
subject to forfeiture as permitted by law, the Defendant agrees to forfeit to the United States all of
the Defendant’s right, title, and interest in the following money, property, and/or assets derived
from or obtained by the Defendant as a result of, or used to facilitate the commission of, the
Defendant’s illegal activities.

14. The Defendant agrees to consent to the entry of orders of forfeiture for the property
described herein and waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(J),
32.2, and 43(a) regarding notice of the forfeiture in the charging instrument, advice regarding
forfeiture during the change of plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment.

15. | The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

16. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.

Abandonment

17. The Defendant knowingly and voluntarily waives any right, title, and interest in the
following property: a black American Tactical Omni Hybrid Multi-Cal .556 caliber semiautomatic
short-barreled rifle bearing serial number NS288677 (the “Abandoned Property”) and consents to
its federal administrative disposition, official use, and/or destruction.

18. The Defendant understands that he would have a right to file a claim to the
Abandoned Property under 41 C.F.R. § 128-48.102-1 and waives his right to claim the Abandoned
Property under 41 C.F.R. § 128-48.503. The Defendant agrees not to contest the vesting of title
of the Abandoned Property in the United States Government and agrees to unconditionally release
and hold harmless the United States Government, its officers, employees, and agents, from any
and all claims, demands, damages, causes of actions, suits, of whatever kind and description, and
wheresoever situated, that might now exist or hereafter exist by reason of or growing out of or
affecting, directly or indirectly, the seizure or waiver of ownership interest in the Abandoned
Property. The Defendant agrees to execute any documents as necessary to the waiver of right, title
and interest in the Abandoned Property, including any forms necessary to effect the Defendant’s
waiver of ownership interest.

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Defendant’s Conduct Prior to Sentencing and Breach

19. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.

20. ‘If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (1) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11 of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
11(c)(1)(C)—if the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c)(1)(C).

Court Not a Party

21. | The Court is not a party to this Agreement. The sentence to be imposed is within
the sole discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation
in this Agreement. The Court will determine the facts relevant to sentencing. The Court is not
required to accept any recommendation or stipulation of the parties. The Court has the power to
impose a sentence up to the maximum penalty allowed by law. If the Court makes sentencing
findings different from those stipulated in this Agreement, or if the Court imposes any sentence up
to the maximum allowed by statute, the Defendant will remain bound to fulfill all of the obligations
under this Agreement. Neither the prosecutor, defense counsel, nor the Court can make a binding
prediction, promise, or representation as to what Guidelines range or sentence the Defendant will
receive. The Defendant agrees that no one has made such a binding prediction or promise.

Entire Agreement

22. This letter, together with the Sealed Supplement, constitutes the complete plea
agreement in this case. This letter, together with the Sealed Supplement, supersedes any prior
understandings, promises, or conditions between this Office and the Defendant. There are no other
agreements, promises, undertakings, or understandings between the Defendant and this Office

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other than those set forth in this letter and the Sealed Supplement. No changes to this Agreement
will be effective unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,

Phil Selden
Acting United States Attorney

Yuen Athens

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Kim Y. Hagan
Assistant United States Attorney

[have read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and I voluntarily agree to it. Specifically, I have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney, and I do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

LM

Date Brian Adams

I am the Defendant’s attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

2 Lo G
Date 7 Gabfiel Reyes, Esq. © <——

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ATTACHMENT A
STIPULATION OF FACTS
The undersigned parties stipulate and agree that if this case had proceeded to trial, this
Office would have proven the following facts beyond a reasonable doubt. The undersigned parties
also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

In December of 2023, special agents for the Bureau of Alcohol, Tobacco, Firearms, and
Explosives (ATF) began investigating the Defendant, Brian Adams, after suspecting that he was
trafficking firearms from North and South Carolina to Baltimore, Maryland. Adams does not hold
a federal firearms license and is prohibited from possessing firearms as he knowingly had been
previously convicted of a crime punishable by imprisonment for a term exceeding one year.

During the investigation, an ATF undercover agent (the “UC”) was introduced to Adams
and Adams subsequently sold the following firearms to the UC during controlled recorded
transactions that occurred at predetermined locations in Maryland and North Carolina:

DATE FIREARMS/CONTROLLED SUBSTANCES

02.16.2024 | One (1) Colt Agent .38 special revolver bearing serial number AB02432

MD One (1) Taurus G2C .40 caliber pistol bearing serial number AEB082876

One (1) Taurus G2C 9mm pistol bearing serial number AED287466

One (1) Smith and Wesson M&P 9 Shield Plus 9mm pistol bearing serial number

JRN6756
02.28.2024 | One (1) Glock GMBH 33 Gen 4 pistol bearing serial number BTY V942
MD One (1) SCCY Industries DVG-1 pistol bearing serial number D018176

One (1) Ruger P94 pistol bearing serial number 34084519

One (1) Smith & Wesson SD9 VE pistol bearing serial number FYC3818
One (1) Smith & Wesson M&P 9c pistol bearing serial number HLX0447
One (1) Husan Arms MKA-1919 shotgun bearing serial number G2002060
One (1) Taurus G3 pistol bearing serial number ADC134421

03.06.2024 | One (1) Palmetto Dagger Compact pistol bearing serial number FG093080

MD One (1) Smith and Wesson SD40 pistol bearing serial number FBB2022

One (1) Radical Firearms RF-15 AR-style pistol bearing serial number 2112815
One (1) DPMS Panther Arms A-15 rifle bearing serial number DNWC022933
One (1) Glock 21 Gen 4 pistol bearing serial number AGKK542

One (1) Kel-Tec P-11 pistol bearing serial number AJ299

03.21.2024 | One (1) TISAS 1911 Carry B9 pistol bearing serial number T0620-22AL00583
MD One (1) FN Reflex pistol bearing serial number CCW0006849

One (1) Grand Power K100 X-Trim pistol bearing serial number GBA1547

One (1) Glock 27 GEN 4 pistol bearing serial number VHE281

One (1) Sig Sauer P290RS pistol bearing serial number 26C002759

One (1) Smith & Wesson M&P 9 M2.0 pistol bearing NHH0729

One (1) Smith & Wesson M&P 40 M2.0 Compact pistol serial number JNK0100
One (1) Combat Armory CA19 pistol bearing serial number 99007528

Two (2) privately made AR-style pistols with no serial numbers

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04.05.2024
MD

One (1) Century Arms VSKA Rifle serial number SV7050101

One (1) Radical firearms RF-15 pistol serial number 20-052562

One (1) Ruger 95 DC chambered in 9mm serial number 311-82892

One (1) Glock 43X pistol chambered in 9mm serial number AHYD628

One (1) Bersa Thunder chambered in 380 serial number E73394

One (1) Taurus PT940 chambered in 40 caliber serial number S1Y76690X
One (1) Taurus TCP chambered in 380 serial number 38951B

One (1) Taurus G2C chambered in 9mm pistol serial number TMS42975

One (1) Rohm RG38 revolver serial number 65284

One (1) H&R Model 925 pistol .38 caliber pistol serial number AE42473

One (1) Ruger LC9s pistol chambered in 9mm serial number 329-46659

One (1) Ruger LCP MAX pistol chambered in 380 serial number 380920469
One (1) Palmetto State Armory pistol chambered in 9mm serial number SC901147
One (1) Starfire pistol serial number 702591

One (1) SAR 9 pistol 9mm serial number T1102-19BV06433

One (1) Sig Sauer SP2022 pistol chambered in 9mm serial number 24D027402
One (1) Canik Arms METE MC% pistol serial number 23CT14985

One (1) Grand Power chambered in P11 serial number 9mm MK12GPD0139

04.30.2024
NA,

One (1) Stoeger 1873 serial number UF5064

One (1) Taurus 605 serial number ACM659023

One (1) Glock Model 23 pistol .40 caliber serial number BCXU930

One (1) Tristar Model T100 serial number 16AK00617

One (1) Springfield Armory Model XDS9 pistol serial number $3809818
One (1) Tristar Model C100 pistol serial number 16AK00617

One (1) Glock Model 27 .40 caliber pistol serial number VHE296

One (1) Glock Model 27 .40 caliber pistol serial number SHX227

One (1) Glock Model 19 .40 caliber pistol serial number BDUT117

One (1) Beretta Model CORTC-M1934 serial number 609113

One (1) SCCY Model CPX2 pistol serial number 664340

One (1) Glock Model 42 pistol serial number ACFA021

One (1) Ruger Model P94DC pistol serial number 308-55509

One (1) High Standard Model Sentinel MK2 revolver serial number H18543
One (1) Smith & Wesson Model M&P 40 pistol serial number DWS5394
One (1) GSG Model 1911 pistol serial number A845161

One (1) Diamondback Arms Model DB15 rifle serial number DB1917802
One (1) Harrington & Richardson Model 732 pistol serial number AJ61550
One (1) KelTec Model P32 pistol serial number 609113

05.14.2024
MD

One (1) Sig Sauer P250 pistol serial number EAK179394

One (1) Shadow Systems CR920 pistol serial number S023914
One (1) CZ P-10F pistol serial number UB17492

One (1) Glock 26 pistol serial number BWHV623

One (1) Taurus 85 .38 special revolver serial number EA41599

05.30.2024
N.C.

One (1) Canik TP9SF chambered in 9mm serial number T6472-19AT01156
One (1) Ruger Security Nine chambered in 9mm serial number 381-73127
One (1) Glock 22 40 S&W serial number YDP093

One (1) CZ 2075 Rami chambered in 9mm serial number B045936

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One (1) Springfield Armory XD9 chambered in 9mm serial number BA719022
One (1) Taurus G2C 9 chambered in 9mm serial number TLP16970

One (1) Taurus G3C 9 chambered in 9mm serial number ADB021445

One (1) Llama Minimax 45 serial number 71-04-03324

One (1) Springfield XDM9 chambered in 9mm MG739705

One (1) Shadow Systems MR920 chambered in 9mm serial number SSC020857
One (1) Palmetto State Armory Dagger chambered in 9mm serial number CD019426
One (1) Taurus G3 chambered in 9mm serial number ADE342078

One (1) FSAAP FR-16 (AR Pistol) chambered in 5.56/223 serial number A02833
One (1) ZRODELTA Ready Series (AR Pistol) serial number ZAR09973

One (1) Sig Sauer P320 chambered in .357 SIG serial number 58C033199

One (1) Glock 43 chambered in 9mm serial number ABSS627

One (1) SCCY CPX1 chambered in 9mm serial number 706867

One (1) Colt Double Eagle MK2-Series 90 serial number DF04166

One (1) Taurus G3XL chambered in 9mm serial number ADB943348

One (1) Llama Unknown Model chambered in .380 Auto serial number A37468
One (1) Sig Sauer P250 chambered in 9mm serial number 57C003744

06.05.2024 | One (1) Wilson Combat pistol frame serial number M18100154 with Sig Sauer P320
MD slide
One (1) Smith & Wesson M&P9 with obliterated serial number
One (1) Glock 27 Gen 4 pistol serial number SHX228
One (1) Beretta APX serial number A203938X
One (1) Taurus PT908 pistol serial number TOD64999
06.20.2024 | One (1) CZ Shadow serial number G193979
MD One (1) Taurus revolver chambered in .357 serial number LU474765

One (1) Glock 17 Gen 5 chambered in 9mm serial number BMWU451

One (1) Palmetto State Armory 57 Rock chambered in .57 serial number RC009023
One (1) Taurus G2C chambered in 9mm serial number AEK752210

One (1) Springfield Armory Hellcat chambered in 9mm serial number BB302808
One (1) SCCY CPX-1 chambered in 9mm serial number 248347

Four of the firearms sold by Adams to the UC were stolen. Several of the firearms sold by
Adams to the UC are semiautomatic capable of accepting a large capacity magazine that can hold
more than 15 rounds of ammunition. In addition to firearms, during the transaction on June 5,
2024, Adams also sold to the UC approximately 112 grams of a mixture or substance containing
methamphetamine, a scheduled II controlled substance.

During the investigation, the UC advised Adams that the UC was illegally trafficking
firearms. The UC further advised Adams that the firearms were going to be shipped to New Jersey
where the firearms would be provided to individuals who could not lawfully purchase firearms.
During the investigation Adams made the following statements to the UC:

Adams advised that he has a lot of sources and can get a variety of guns.

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Adams advised that he is worried about the ATF because he has to cross state lines
with the firearms. Adams advised that he transports all the firearms on the bus from
Charlotte (N.C.) and keeps them on his person.

Adams advised that he has the connections to procure at least 20 firearms at a time.
Adams advised that he had access to Glock switches (machinegun conversion
devices) in Atlanta and was planning on keeping one for himself.

Adams also stated that he had been selling firearms long before he met UC. Adams
advised that he had recently sold firearms to individuals in New York and
Philadelphia and that he was contemplating moving to Atlanta to further his
firearms business.

During the May 14, 2024 transaction, Adams had a loaded firearm on his person
that he would not sell to UC. Adams told the UC that the firearm was in his pocket
“for a reason.”

During the June 5, 2024 transaction, Adams had a loaded firearm on his person that
he would not sell to the UC. Adams told the UC that it’s for “if I gotta put a hole
inan *

On July 10, 2024, ATF agents arrested Adams at a pre-determined controlled location in
Baltimore County, Maryland. Adams met the UC on this date and sold the UC nine (9) firearms
and an additional quantity of a mixture or substance containing methamphetamine, a schedule II
controlled substance (104 grams).

All events occurred in the District of Maryland.

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Kim Y. Hag an
Assistant United sates Attorney

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Ff:

Brian Adams
Defendant

J

Gabriel Reyes, Esq.
Counsel for Defenda

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